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IN THE UNITED STATES DISTRICT COURR|9MAR 11 PH 3:5]
FOR THE NORTHERN DISTRICT OF TEXAS
FORT WORTH DIVISION

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UNITED STATES OF AMERICA
Vv. No. 4:19-CR-
WILLIE CLAYTON DAVIDSON (01)
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The United States Attomey Charges:
Count One
Conspiracy to Possess with Intent to Distribute a Controlled Substance
(21 U.S.C. § 846)
Beginning in or before January 2018 and continuing until in or around March
2018, in the Fort Worth Division of the Northern District of Texas, and elsewhere,
defendant Willie Clayton Davidson, along with others known and unknown, did
knowingly and intentionally combine, conspire, confederate, and agree to engage in
conduct in violation of 21 U.S.C. §§ 841(a)(D) and (b)()(C), namely to possess with intent

to distribute a mixture and substance containing a detectable amount of

methamphetamine, a Schedule I controlled substance.

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In violation of 21 U.S.C. § 846 (21 U.S.C. §§ 841(a)(1) and (b\I)(C)).

ERIN NEALY COX
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